    Case: 1:22-cv-03681 Document #: 112 Filed: 08/28/23 Page 1 of 7 PageID #:570




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Angelica Junious,

               Plaintiff,                            No. 22 C 3681

               v.                                    Honorable Edmond E. Chang

Sgt. W. Baker #3159, et al.,                         Magistrate Judge Maria Valdez

               Defendants.

                         DEFENDANTS’ SUPPLEMENTAL BRIEF
                        IN SUPPORT OF THEIR MOTION TO STAY

       Defendants LT. PURCELL, OFFICER CHENGARY, OFFICER WALZ, OFFICER RAHN, and COOK

COUNTY SHERIFF TOM DART, (collectively, “Defendants”), by their attorney, KIMBERLY M. FOXX,

State’s Attorney of Cook County, through her Assistant State’s Attorneys, ANTONIO LEE and

JAMES O’CONNOR, pursuant to Court Order on August 21, 2023, submit the following

supplemental brief in support of their Motion to Stay, (Dkt. Nos. 105, 106), and state as follows:

                                       INTRODUCTION

       On August 18, 2023, Defendants filed a Motion to Stay pursuant to the Younger v. Harris

abstention doctrine (“Motion”), due to the ongoing criminal prosecution of Steven McKinnie

(“McKinnie”) through the Cook County State’s Attorney’s Office’s Criminal Prosecution Bureau,

regarding the alleged sexual assault by McKinnie against Plaintiff Angelica Junious (“Plaintiff”)

on December 30, 2021. Dkt. No. 104. As explained in that Motion, Plaintiff’s original Complaint

and framing of the issues through the course of discovery focused Defendants on allegations of a

broken window, lock, door, chuckhole, and other matters unrelated to any underlying criminal

prosecution of McKinnie. Discovery, particularly recent discovery, has closed off some theories


                                                1
    Case: 1:22-cv-03681 Document #: 112 Filed: 08/28/23 Page 2 of 7 PageID #:571




and suggested new avenues of investigation. It no longer seems possible to litigate the pending

civil action by focusing solely on the reasonableness of Defendants’ actions. Instead, issues

relating to the underlying criminal incident have moved to the foreground. Indeed, Plaintiff has

even issued a subpoena to the criminal Assistant State’s Attorney prosecuting McKinnie! Because

of the shift in focus to McKinnie’s criminal prosecution, Younger is now implicated in a way that

it was not before, because witnesses and material evidence related to the underlying criminal

prosecution will now be at issue here, and this ongoing litigation will substantially interfere with

that state court criminal prosecution, which has preference under Younger.

       On August 21, 2023, this Court requested supplemental briefing to Defendants’ Motion

regarding a potential conflict in relation to the Cook County State’s Attorney’s Office’s

representation in both the prosecution of Steven McKinnie and Defendants in this civil lawsuit

filed by Plaintiff. Dkt. No. 106.

       As an initial matter, Defendants state that they take conflicts of interest seriously, and note

that in this matter they have already referred the representations of Officer Nealon and Officer

Baker to conflicts counsel when conflicts arose. Dkt. Nos. 56-61, 98, 97, 99. Further, in an

abundance of caution, Defendants are also in the process of referring representation of the

remaining Defendants to outside counsel not directly affiliated with the State’s Attorney’s Office,

a process which had begun prior to the Court’s August 21, 2023 Minute Order.

       Despite that abundance of caution, there is no conflict of interest at the present time.

Respectfully, the Court’s statement that “it appears that one set of ASAs is trying to prove beyond

a reasonable doubt that McKinnie committed the sexual assault, while at the same time another set

of ASAs is arguing that no assault happened,” is not accurate. Dkt. No. 106. Somehow, Plaintiff

and McKinnie ended up in the same cell together. The issue in this civil action is not what



                                                 2
    Case: 1:22-cv-03681 Document #: 112 Filed: 08/28/23 Page 3 of 7 PageID #:572




happened once Plaintiff and McKinnie got in the same cell together, which is what the criminal

prosecution will determine, but how they got in that cell together in the first place. After pursuing

other avenues through discovery, it now appears that the parties must examine what, if any, role

Plaintiff and McKinnie played in McKinnie’s access to Plaintiff, which is irreparably intertwined

with McKinnie’s criminal prosecution, and should therefore be stayed pursuant to Younger. That

does not mean, however, that McKinnie did not commit a sexual assault once he had access, and

Defendants have not taken a contrary position. It does mean, however, that this civil action will

become irreparably intertwined with McKinnie’s criminal prosecution, and should therefore be

stayed pursuant to Younger.

                                           DISCUSSION

       Rule 1.7 of the Illinois Supreme Court Rules of Professional Conduct provides that a

lawyer shall not represent a client if the representation involves a concurrent conflict of interest.

Ill. Sup. Ct. R. Prof’l. Conduct, R. 1.7. “A concurrent conflict of interest exists if: (1) the

representation of one client will be directly adverse to another client; or (2) there is a significant

risk that the representation of one or more clients will be materially limited by the lawyer’s

responsibilities to another client, a former client or a third person or by a personal interest of the

lawyer.” Here, no concurrent conflict of interests exists because there is no material limitation in

advancing the defense of Defendants against Plaintiff’s claims in the operative complaint for this

civil lawsuit at the same time as McKinnie’s prosecution in the Circuit Court of Cook County.

Relatedly, Rule 1.7 provides that “[t]he mere fact that advocating a legal position on behalf of one

client might create precedent adverse to the interests of a client represented by the lawyer in an

unrelated matter does not create a conflict of interest.”




                                                  3
    Case: 1:22-cv-03681 Document #: 112 Filed: 08/28/23 Page 4 of 7 PageID #:573




       On July 15, 2022, Plaintiff filed a complaint at law against Defendants asserting claims of

failure to protect, state-created danger, willful and wanton negligence, and respondent superior.

Dkt. No. 1. Plaintiff alleged that Defendant “had been aware of a pervasive issue involving the

lock of the door that connects cells #3149 and #3151.” Id. at pg. 3. Plaintiff further asserted that

officers attempted to remedy a broken window by “placing a COVID medical gown over the

broken, open window.” Id. (emphasis added). As a result of placing Plaintiff on a COVID-19

Isolation Tier that housed a male detainee, Plaintiff alleged that the purported conditions, including

a broken window on the separating door, malfunctioning chuckhole and lock on the separating

door, and lack of supervision resulted in her injuries. Id. Plaintiff further asserted that Defendants

“strongly suspected facts that Plaintiff would be at risk for sexual assault and eventually harmed.”

Id. at 5. On January 11, 2023, Plaintiff filed a First Amended Complaint with similar allegations,

but added new parties. Dkt. No. 42. On February 10, 2023, Defendants answered Plaintiff First

Amended Complaint. Dkt. No. 52.

       Meanwhile, the Cook County State’s Attorney’s Office issued charges against Steven

McKinnie for the alleged sexual assault against Plaintiff, pending in the Circuit Court of Cook

County, Case No. 22CR0658801. Documents and physical evidence used in the criminal

prosecution were not shared with Defendants during the investigation of the civil lawsuit. This

civil lawsuit did not pose a conflict with the criminal prosecution based on the allegations in

Plaintiff’s complaints, because it was alleged McKinnie gained access to Plaintiff due to broken

equipment and lax supervision.

       During discovery, various theories about the Defendants’ alleged actions were run to

ground and crossed off. Indeed, just two weeks ago, on August 14, 2023, Plaintiff filed a motion

seeking leave to file a Second Amended Complaint. Dkt. No. 98. Plaintiff’s proposed 89-page



                                                  4
      Case: 1:22-cv-03681 Document #: 112 Filed: 08/28/23 Page 5 of 7 PageID #:574




Second Amended Complaint included new parties, excerpts from the OPR report, and newspaper

articles. Dkt. No. 98-2. Notably, however, the proposed Second Amended Complaint no longer

asserts allegations of a defective or broken lock, open window, or malfunctioning chuckhole, but

rather alleges that the “physical configuration of the isolation cells in 3 Southeast Tier pose[d] an

obvious and unique danger to female detainees because between each isolation cell is a vacant

nurse’s station.” Id. at pg. 16. Plaintiff further changed her theory in now alleging that Officer

Nealon “did not check the deadbolt locks to the anteroom doors of either Room 3149 or 3141,”

and relieving individuals failed to check the doors inside the anteroom thereafter. Id. at pgs. 22-

26.

         Crucially, the Second Amended Complaint is silent as to exactly how Steven McKinnie’s

door inside the anteroom became unlocked in the first place. Id., at pgs. 21-22. As Plaintiff’s own

evolving pleadings demonstrate, questions remain about how McKinnie got access to Plaintiff in

the first place, and those questions cannot be answered only by looking at the Defendants, the

locks, work orders, etc., as the parties have been doing so far. Instead, the underlying facts

surrounding the alleged sexual assault are now at the forefront of this case, and thoroughly

examining that question will no doubt interfere with McKinnie’s criminal prosecution. That is why

this civil action should be stayed pursuant to Younger. The fact that those facts and circumstances

need to be investigated, however, does not mean that the Defendants in this civil action are

contending that McKinnie did not commit unwanted sexual acts against Plaintiff. There is no

conflict of interest between McKinnie’s criminal prosecution and Defendants’ civil defense against

the allegations in the operative complaint.

         All of these changing circumstances bolster the points made in Defendants’ Motion to Stay.

The resolution of this civil matter will involve an investigation of facts, circumstances, witnesses,



                                                 5
    Case: 1:22-cv-03681 Document #: 112 Filed: 08/28/23 Page 6 of 7 PageID #:575




and physical evidence intimately intertwined with McKinnie’s criminal prosecution for alleged

sexual assault. That will necessarily impact the criminal prosecution, and this case should be stayed

pursuant to Younger. Similarly, this civil action will be negatively impacted by the fact that some

evidence may be unavailable to the parties here, pending McKinnie’s criminal prosecution. This

matter should be stayed.

                                         CONCLUSION

       The purpose of Defendants’ Motion is not to cause undue delay or unfair prejudice to

Plaintiff. The fact is, however, that pursuant to Younger, and for the reasons set forth in

Defendants’ Motion, this civil action should be stayed. Once the criminal case is resolved the stay

can be lifted, and the facts and evidence developed in the criminal case are likely to benefit all

parties here and promote a prompt resolution of this civil action. But based on Plaintiff’s change

in strategy, including subpoenaing the Assistant State’s Attorney prosecuting McKinnie’s criminal

case, it is now evident that continuing the litigation of this civil lawsuit will impact the criminal

prosecution, and that cannot happen pursuant to Younger.

       As to the Court’s specific concerns which called for this Supplement, Defendants do not

believe there is a conflict. Nevertheless, facts recently discovered have already led Defendants to

begin the process of obtaining new counsel for Defendants.



                                                      Respectfully submitted,

                                                      KIMBERLY M. FOXX
                                                      State’s Attorney of Cook County

                                              By:     /s/ Antonio Lee
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                                                      James O’Connor
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                                                 6
   Case: 1:22-cv-03681 Document #: 112 Filed: 08/28/23 Page 7 of 7 PageID #:576




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                                CERTIFICATE OF SERVICE

        I, Assistant State’s Attorney, Antonio Lee, hereby certify that Defendants’ Supplemental
Brief in Support of Their Motion to Stay was served upon Plaintiff’s counsel via the CM/ECF filing
system on August 28, 2023.


                                                                                  /s/ Antonio Lee
                                                                                     Antonio Lee




                                                7
